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                                        NOTICE

       The instant civil action has been designated for placement into the United States District
Court for the Western District of Pennsylvania’s Alternative Dispute Resolution (ADR) program.

        The parties are directed to fully complete the required Rule 26(f) report, which includes
the stipulation of selecting an ADR process.

        For further information, parties should refer to Local Rule 16.2 and the Court’s ADR
Policies and Procedures, which can be accessed at the Court’s website at
www.pawd.uscourts.gov

         The attorneys of record and all unrepresented parties that appear in this case are reminded
that they are jointly responsible for submitting to the Court the following documents prior to the
Initial Case Management Conference, in addition to any additional requirements of the assigned
Judge:

       (a)      a written report required by Fed.R.Civ.P. 26(f), in the format set forth in
                Appendix to the Local Civil Rule 16.1.1A
       (b)      a stipulation of selecting an ADR process (pursuant to Revised Local Rule 16.2).
